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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division

 BMG RIGHTS MANAGEMENT                         )
 (US) LLC, and ROUND HILL                      )
 MUSIC LP                                      )
                                               )
                Plaintiffs,                    )
                                               )
        v.                                     )       Case No. 1:14-cv-1611(LO/JFA)
                                               )
 COX COMMUNICATIONS, INC.,                     )
 COXCOM, LLC                                   )
          Defendants.                          )
                                               )

                     STIPULATION OF DISMISSAL WITH PREJUDICE

        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff BMG Rights

 Management (US) LLC and Defendants Cox Communications, Inc., and CoxCom, LLC, by and

 through their respective counsel, hereby stipulate and agree that this action shall be dismissed

 with prejudice and without costs to any party. The parties request that the Court enter the below

 proposed Order dismissing this action with prejudice and without costs to any party.




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 August 24, 2018
                                     Respectfully submitted,


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                       ORDER GRANTING STIPULATION OF DISMISSAL

        IT IS HEREBY ORDERED that this action shall be dismissed with prejudice and without

 costs to any party.

        ENTERED this _______ day of August, 2018.



 Alexandria, Virginia                             ____________________________
                                                  The Honorable Liam O’Grady
                                                  United States District Judge
                                                  Eastern District of Virginia




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on August 24, 2018, I electronically filed a true and correct copy of
 the foregoing using the Court’s CM/ECF system, which then sent a notification of such filing
 (NEF) to all counsel of record:

 Thomas M. Buchanan (VSB No. 21530)
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